Case 2:20-cr-00220-JMA-ST Document 30 Filed 07/06/21 Page 1 of 2 PageID #: 70


                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
ALK                                                 271 Cadman Plaza East
F. #2020R00209                                      Brooklyn, New York 11201




                                                    July 6, 2021



By ECF and E-mail

Kevin Faga, Esq.
1133 Westchester Avenue
Suite N-202
White Plains, NY 10604
Email: kevin@kevinbfaga.com

                Re:    United States v. Thomas Blaha
                       Criminal Docket No. 20-220 (JMA)

Dear Counsel:

              Enclosed please find the government’s supplemental production of discovery
in the above-referenced case. As indicated below, some of the discovery is designated as
Sensitive Discovery Material under the Protective Order entered on July 6, 2021.

                Please find enclosed the following additional materials:

               A redacted National Center for Missing & Exploited Children CyberTipline
                Report, Bates numbered TB000143 – TB000157, which is designated as
                Sensitive Discovery Material;
               Extracted and redacted communications between the defendant and Jane Doe,
                Bates numbered TB000158 – TB000183, which are designated as Sensitive
                Discovery Material. The full set of materials received from Facebook
                pursuant to the search warrant produced to you on November 3, 2020 remain
                available for your review in person at your request; and
               A redacted Homeland Security Investigations Forensic Laboratory Report,
                Bates numbered TB000184. The images referenced in the report are available
                for your review in person at your request.
Case 2:20-cr-00220-JMA-ST Document 30 Filed 07/06/21 Page 2 of 2 PageID #: 71




               Additionally, a photo array in which Jane Doe identified the defendant in a
series of photographs may be viewed in person at your request.

              The government reiterates its request for reciprocal discovery from the
defendant.



                                                  Very truly yours,

                                                  JACQUELYN M. KASULIS
                                                  Acting United States Attorney

                                           By:     /s/ Anna L. Karamigios
                                                  Anna L. Karamigios
                                                  Assistant U.S. Attorney
                                                  (718) 254-6225

Enclosures

cc:    Clerk of the Court (JMA) (by ECF) (without enclosures)




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